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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND
                           Southern Division


LOIS ANN GIBSON, et al.             *

                 Plaintiffs         *

     v.                             *     Civil Action No.: 1:22-cv-01642-GLR

FREDERICK COUNTY, MARYLAND, *
et al.
                            *

                 Defendants         *

*    *     *     *     *      *    *  *         *     *     *     *     *    *
                                  ORDER


      Upon consideration of Defendants Calvert County and Washington

County’s Motion to Dismiss, it is this ____ day of ______________________ 2022

hereby

     ORDERED, that Defendants’ Motion is GRANTED in part; and

     ORDERED that Plaintiffs’ Amended Complaint is DISMISSED WITH

PREJUDICE




                              ________________________________________________
                               United States District Judge
